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                                   UNITED STATES DISTRICT COURT
21
                                 NORTHERN DISTRICT OF CALIFORNIA
22                                      OAKLAND DIVISION

23
     EPIC GAMES, INC.,                              Case No. 4:20-CV-05640-YGR-TSH
24                  Plaintiff, Counter-defendant,
                                                    JOINT STIPULATION AND [PROPOSED]
25                          v.                      ORDER MODIFYING THE PRIVILEGE RE-
                                                    REVIEW PROTOCOL
26   APPLE INC.,
                                                    Courtroom: 1, 4th Floor
                    Defendant, Counterclaimant.
27
                                                    Judge: Hon. Yvonne Gonzalez Rogers
28

     JOINT STIPULATION
     AND [PROPOSED] ORDER MODIFYING
     THE PRIVILEGE RE-REVIEW PROTOCOL                          CASE NO. 4:20-CV-05640-YGR-TSH
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             WHEREAS, on December 23, 2024, the Court entered the Joint Stipulation and Order
 1

 2   Approving Privilege Re-Review Protocol (the “Protocol”) (Dkt. 1092);

 3           WHEREAS, the Protocol establishes certain deadlines related to the re-review by Apple

 4   Inc. (“Apple”) of all documents over which it has asserted privilege;
 5
             WHEREAS, the evidentiary hearing in this proceeding is scheduled to resume on February
 6
     24, 2025; and
 7
             WHEREAS, the Parties wish to modify certain deadlines in the Protocol in order to best
 8
     facilitate the Parties’ preparation for and presentation at the evidentiary proceedings;
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10                   THEREFORE, IT IS STIPULATED AND AGREED THAT:

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             1.      Apple will produce by Tuesday, February 18, 2025, all documents that Apple sought
12
     to redact and for which Apple’s proposed redactions were upheld by the Special Masters up to and
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     including Saturday, February 15, 2025;
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             2.      Apple will endeavor to produce by Tuesday, February 18, 2025, but will produce no
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     later than Wednesday, February 19, 2025, all documents for which a privilege claim was overruled
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     by the Special Masters up to and including Saturday, February 15, 2025, except such documents (if
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     any) regarding which Apple intends to object to the Special Masters’ ruling;
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             3.      Apple will endeavor to produce within three (3) calendar days all documents Apple
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     sought to redact and for which Apple’s proposed redactions were upheld by the Special Masters or
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     by Magistrate Judge Hixson from February 16 up to and including February 20;
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             4.      Apple will endeavor to produce within three (3) calendar days all documents
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     downgraded by Magistrate Judge Hixson during the week of February 16, 2025, except such
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     documents (if any) regarding which Apple intends to move for relief from Judge Hixson’s ruling(s);
24
             5.      The deadline in paragraph 4(a) of the Protocol for any objections to the privilege
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     rulings of the Special Masters due from February 20, 2025 through March 2, 2025 is tolled by 11
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     days;
27
     JOINT STIPULATION
28   AND [PROPOSED] ORDER MODIFYING
     THE PRIVILEGE RE-REVIEW PROTOCOL
                                                   1               CASE NO. 4:20-CV-05640-YGR-TSH
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 1          6.      If either party elects to file objections in the period from February 20 through March
 2   2, the opposing party’s time to respond is extended to March 4, 2025;
 3          7.      This order shall not affect any deadlines to respond to objections filed before
 4   February 20.
 5

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 8    Dated: February 18, 2025                      Respectfully submitted,
 9
                                                    By:    /s/ Yonatan Even
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28   JOINT STIPULATION
     AND [PROPOSED] ORDER MODIFYING
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                                                  2               CASE NO. 4:20-CV-05640-YGR-TSH
      Case 4:20-cv-05640-YGR     Document 1252     Filed 02/19/25    Page 4 of 6



     Dated: February 18, 2025            Respectfully submitted,
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                                         By:     /s/ Mark A. Perry
 2

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28   JOINT STIPULATION
     AND [PROPOSED] ORDER MODIFYING
     THE PRIVILEGE RE-REVIEW PROTOCOL
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 1   PURSUANT TO THE FOREGOING STIPULATION AND GOOD CAUSE APPEARING,
 2   IT IS SO ORDERED.

 3
      Dated: February 19, 2025
 4                                      HON. YVONNE GONZALEZ ROGERS
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28   JOINT STIPULATION
     AND [PROPOSED] ORDER MODIFYING
     THE PRIVILEGE RE-REVIEW PROTOCOL
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       Case 4:20-cv-05640-YGR              Document 1252      Filed 02/19/25      Page 6 of 6




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 2          E-FILING ATTESTATION
 3   I, Mark A. Perry, am the ECF User whose ID and password are being used to file this document.

 4   In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the signatories identified

 5   above has concurred in this filing.
 6

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 8
                                                             /s/ Mark A. Perry
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                                                             Mark A. Perry
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28   JOINT STIPULATION
     AND [PROPOSED] ORDER MODIFYING
     THE PRIVILEGE RE-REVIEW PROTOCOL
                                                   5               CASE NO. 4:20-CV-05640-YGR-TSH
